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Exhibit A: Plaintiff's Complaint
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DEPT. NO. 2 ROY IG FH 3:65
3] AFFIRMATION LEG CO CISTRICT COURT
4 Pursuant toNRS 239B.030
5] an sucalsoawi nie cen oer
e IN THE FOURTH JUDICIAL DISTRICT COURT OF THE
7 STATE OF NEVADA, IN AND FOR THE COUNTY OF ELKO
8

9} BRENDA JOUNSON an Individual:
Plaintills.

v. COMPLAINT YOR DAMAGES
\2

WAL-MART STORES, INC. a Delaware.

13} Corparation, d/b/a Wal-Mart Supercenter #2402;

doing business in Nevada, DOES T through X¥

Id} and ROE Corporations VE through X, inclusive,

i) Defendants.
6)

COMES NOW. Plaintiff BRENDA JOHNSON, by and through her atiorneys of record,

 

 

 

17

i KIDWELL & GALLAGHER, LD. for her causes of action against Defendant, WAL-MART

‘9 STORES, INC. a Delaware Corporation, d/b/a Wal-Mart Supercenter #2402: doing business in
» Nevada, DOLS | through A, and ROE Carporations VI through X. inclusive. and alleges as follows.
| l. Atal tines relevant herein. Plaintiff, BRENDA JOHNSON (hereinafter the “Pkaintiff” or |
2 | “BRESMIA') was a resident of Elko County, Nevada, |
33 : ey Lipan tefarmation and belief at all times relevant herein. Delendant, WALMART,
34 STORES, INC. (hereinifier the “Defendant” or “Wal-Miat’) was and is erganized as a corporation’
2 |
45 under the laws af the Shite ar Delaware and done business in the State of Nevacla. |
6 3, Mais Couet has purisdi¢tton cvce this tratier ander NRS 14.065 and NRS -STOCL). us ihe facts
7 wleged Gecurred In Pike County. Nevada aid fivolys an aaramid tn cantroversy ta excess vi
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$15,000.00. Venue is proper pursuant to NRS 13.040, as Defendant, or any one of them resided in
; Elko County, Nevada at the commencement of this action.
3 4, That the true names and capacities of Defendants named herein as DOES | through X,
: inclusive, are unknown to Plaintiff, who therefore sues said Defendants by such fictitious names,
° Plaintiff is informed and believes and thereon alleges that each of the Defendants designated herein
6 as a DOE Defendant is responsible for the events and happenings referred to and proximately caused
’ damages to Plaintiff as alleged herein. Plaintiff will ask leave of the Court to amend the Complaint
8 to insert the true names and capacities of DOES I through X when the same have been ascertained,
° and to join such Defendants in this action.
7 5, That the true names or capacities of Defendants, ROE DEFENDANTS II through X,
M inclusive, are unknown to Plaintiff who, therefore, sues said Defendants by such fictitious names.
12 Detendants designated herein as ROE DEFENDANTS II through X, and each of them, are
7 predecessors-in-interest. successors-in-interest, and/or agencies otherwise in a joint venture with,
4 and/or serving as un alter cgo of, any and/or all Defendants named herein; and/or are entities
» responsible for the supervision of the individually named Defendants at the time of the events and
a citcumstances alleged herein; and/or are entities employed by and/or otherwise directing the
ui individual Defendants in the scope and course of their responsibilities at the time of the events and
18 circumstances alleged herein; and/or are entitics otherwise contributing in any way to the acts
9 coinplained of and the damages alleged to have been suffered by the Plaintiff herein. Plaintiff is
20 informed and, on that basis believes and thercon alleges, that each of the Defendants designated as a
7 ROE BUSINESS ENTITY is in some manner negligently, vicariously, and/or statutorily responsible
22 for the events and happenings referred to and caused damages to Plaintiff as herein alleged. Plaintiff
“3 will seek leave of the Court to amend this Complaint ta insert the true names of such Defendants
a4 when the same have been ascertained.
. GENERAL FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
26 6. The Plaintiff repeats and realleges the allegations as contained in the preceding paragraphs
a7 herein, and incorporate the same herein by reference.
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Pes Jas

 

 

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7. On or about September 10, 2018 at approximately 5:00 pm Plaintiff arrived at Wal-Mart to
2 grocery shop in Elko, Nevada.
3 8. Plaintiff was walking down the pasta aisle and slipped on a substance that was on the floor.
, 9. Plaintiff was partially holding on to her grocery cart but ultimately lost balance and twisted
‘3 her back and knee.
6. 10. The substance on the floor was not marked or otherwise visible to prevent Plaintiff from
’ slipping.
8 ll. Asaresult of the substance on the floor, Plaintiff suffered serious personal injuries, to
: include serious back and knee injuries.
10 FIRST CLAIM FOR RELIEF
i (Negligence)
= Against Defendant Wal-Mart Stores, Inc.
13]| 12. The Plaintiff repeats and realleges the allegations as contained in the preceding paragraphs
14 herein, and incorporate the same herein by reference.
= 13. Defendant Wal-Mart owed a duty to exercise ordinary and reasonable care in the
, maintenance of their property to avoid injury to Plaintilf, and Defendant Wal-Mart negligently and
18 carelessly breached such duty by reason of the aforesaid events.

19}| 14 As adirect and proximate result of the aforesaid negligence and carelessness of Defendant
20 || Wal-Mart, Plaintiff Brenda Johnson was injured, receiving injuries to the tissues, bones, and joints

21) of her body. Plaintiff thereby experienced great pain and anxicty to her body and mind, sustaining

22 injuries and damages in the sum in excess of Fifteen Thousand Dollars ($15,000.00).
23 : . .

15. Asa further direct and proximate result of the aforesaid negligence and carelessness of
24

Defendant, Plaintiff Brenda Johnson has incurred damages. both general and special, including
25
16 medical expenses as a result of the necessary treatment of her injuries, and will continue to incur

27 || damages for future medical treatinent necessilated by injuries she has suffered as a result of the
28 || Deiendant’s negligence.

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18. The actions of the Defendant have forced the Plaintiff to retain counsel to represent her in the

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16. Asa further proximate result of the aforementioned negligence and carelessness of the
Defendant, Plaintiff Brenda Johnson was required to, and did, employ physicians, surgeons, and
other health care providers to examine, treat, and care for her and did incur medical and incidental
expenses thereby. The exact amount of such expenses is unknown at this present time, but Plaintiff
alleges that she has suffered special damages in excess of Fifleen Thousand Dollars ($15,000.00).
17. Additionally, upon information and belief, due to injuries caused by the Defendant's actions,

Plaintiff has suffered a loss income and/or of earning capacity.

prosecution of this action, and she is therefore entilled to an award of a reasonable amount of
attorney's fees and costs of suit.

WHEREFORE, Plaintiff, BRENDA JOHNSON, expressly reserves her right to amend this
Complaint at the time of trial to include all items of damage not yet ascertained, and demands

Judgment against Defendant. WAL-MART STORES, INC., and each of the defendants as follows:

19, General damages, in an amount in excess of Fifteen Thousand Dollars ($15,000.00), to be set
forth and proven at the time of trial;

20. Special damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00), to be set
forth and proven at the time of trial;

21. Reasonable attorncy's fees;

22. Costs of suit incurred; and

23. Such other reliel'as to the Court seems just and proper.

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DATED this_\P¥ day of November, 2019.
2 KIDWELL & GALLAGHER, LTD.

    

4 Barbara W. GaWagher, Esq.
5 Nevada Bar No. 005315
790 Commercial Street
6 Elko, Nevada 89801
(775) 738-1000 — Telephone
7 (775) 753-8600 — Facsimile
8 : Barbara@kidwellgallagher.com
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